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                    IN THE CIRCUIT COURT OF .AL<&lJ.iR>UNTY, MISSISSIPPI

          ROSE WATSON, AS POWER OF   ~PR                 '6 20\0
          ATIORNEY FOR DOROTHY PERRY                                                 PLAINTIFF
                                                   °mtot&ERK
                                                    B          DeputY
          V.                                                            CAUSE NO. CV 10-012 FA


          CORNERSTONE HEALTH AND REHAB
          OF CORINTH, LLC d/b/a CORNERSTONE
          HEALTH AND REHABILITATION OF
          CORINTH and MAGNOLIA REGIONAL
          HEALTH SERVICES,INC. dll>/a MAGNOLIA
          REGIONAL HEALTH CENTEt{                                                DEFENDANTS

                     STIPULATION OF DISMISSAL, WITHOUT PREJUDICE, OF

                      MAGNOLIA REGIONAL HEALTH SERVICES, INC. D/B/A

                           MAGNOLIA REGIONAL HEALTH CENTER


                   COMES NOW Plaintiff Rose Watson, as Power of Attorney for Dorothy Perry, by

          and through counsel, and pursuant to Rule 41 of the Mississippi Rules of Civil

          Procedure, hereby stipulates to the dismissal, without prejudice, of Defendant Magnolia

          Regional Health Services, Inc. d/b/a Magnolia Regional Health Center as a defendant in

          this cause, including all claims asserted against Defendant Magnolia Regional. Health

          Services, Inc. d/b/a Magnolia Regional Health Center in the operative Complaint. This

          Stipulation of Dismissal,Without Prejudice, 9.oesnot effect Plaintiffs clahns against any

          other defendant in this cause.

                   THIS the   11 v day of_-1hL-...lA~~=_-" 2010.


                                                          Peter Gee, Esquire,
                                                          Counsel for Plaintiff Rose Watson, as
                                                          Power ofAttorney for Dorothy Perry




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                                 CERTIFICATE OF SERVICE


            I, Peter Gee, one of the attorneys for the Plaintiff, do hereby certify that I have

 this day served a true and correct copy of the above and foregoing Stipulation of

 Dismissal, Without Prejudice by placing said copy in the United States Mail, postage

 prepaid, addressed to the following:

                                Brad Dillard
                                P.O; Box 7120·
                                Tupelo; MS38802


            DATED, this the   It v-day of March, 2010.



                                                     PETER GEE





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